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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

     TAMEKA BALDWIN, ET AL.                         §
                                                    §
     v.                                             §      Case No. 2:21-CV-0154-JRG-RSP
.                                                   §
     JAMES SKINNER BAKING COMPANY                   §

                                                ORDER

           Before the Court is the Unopposed Motion for Leave to File Motion for

    Summary Judgment That Exceeds Page Limits as Set Forth in Local Rule CV-(7)(a)(3)(A)

    filed by Defendant James Skinner Baking Company. Dkt. No. 28.

           After due consideration, the Court DENIES the motion for the Defendant has failed to

    provide a sufficient basis for the Court to conclude an additional 30 pages are necessary. The

    60-page limit provided by the Local Rules suffices.
           SIGNED this 3rd day of January, 2012.
           SIGNED this 6th day of September, 2022.




                                                          ____________________________________
                                                          ROY S. PAYNE
                                                          UNITED STATES MAGISTRATE JUDGE
